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                                                                           REGISTER OF               ACTIONS
                                                                                    C A S E NO. 15-02-01909


C l a r e n c e Pyle V S . Metropolitan L l o y d s Insurance C o m p a n y of T e x a s                                 _           Contract-Other >$100,000 but
                                                                                                                         uaselype. <$200,000
                                                                                                                         Date Filed: 02/25/2015
                                                                                                                           Location: 284th Judicial District Court



                                                                                      P A R T Y INFORMATION

                                                                                                                                           Attorneys
Defendant          Metropolitan L l o y d s I n s u r a n c e C o m p a n y of                                                             DANIEL P B U E C H L E R
                   Texas                                                                                                                      Retained
                                                                                                                                           214.871.8200(W)


Plaintiff          Pyle, C l a r e n c e W a y n e                                                                                         RICHARD D DALY
                                                                                                                                            Retained
                                                                                                                                           713.655.1405(W)


                                                                                 EVENTS & ORDERS OF T H E COURT

               OTHER EVENTS AND HEARINGS
               Original Petition ( O C A )
               Civil C a s e Information S h e e t
               E - F i l e d Original Petition Document
               Request For Service
               Certified Mail Citation
                   Metropolitan Lloyds Insurance Company of Texas                       Unserved
               Answer


                                                                                    FINANCIAL INFORMATION




               Plaintiff Pyle, Clarence Wayne
               Total Financial Assessment                                                                                                                              379.00
               Total Payments and Credits                                                                                                                              379.00
                B a l a n c e D u e a s of 04/09/2015                                                                                                                    0.00

               Transaction Assessment                                                                                                                                   379.00
               E-File Electronic Payment Receipt # 2015-36701                                                 Pyle, Clarence Wayne                                    (379.00)




http://odyssey .mctx.org/Unsecured/CaseDetail.aspx?CaseID=343 625                                                                                             4/9/2015
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                                                                                 Received and E-Filed for Record
                                                                                 2/25/2015 7:09:58 PM
                                                                                 Barbara Gladden Adamick
                                                                                 District Clerk
                                                                                 Montgomery County, T e x a s


                                 CAUSE NQl 5-02-01909

CLARENCE WAYNE PYLE                              §           IN THE DISTRICT COURT OF
                                                 8
       Plaintiff                                 § Montgomery County - 284th Judicial District Court
                                                 §
vs.                                              §           MONTGOMERY COUNTY, TEXAS
                                                 §
METROPOLITAN LLOYDS INSURANCE                    §
COMPANY OF TEXAS                                 §
                                                 §                       JUDICIAL DISTRICT
       Defendant                                 §

                           P L A I N T I F F ' S ORIGINAL   PETITION

TO THE HONORABLE JUDGE OF SAID COURT:

       Clarence    W. Pyle ("Mr. Pyle"), Plaintiff herein, files this Original Petition against

Defendant Metropolitan Lloyds Insurance Company of Texas ("Metropolitan") and, in support of

his causes of action, would respectfully show the Court the following:

                                                I.


                                        T H E PARTIES

       1.      Clarence W. Pyle is a Texas resident who resides in Montgomery County, Texas.

       2.      Metropolitan is an insurance company doing business in the State of Texas which

may be served through its registered agent for service o f process in the State o f Texas, CT

Corporation System, via certified mail at 1999 Bryan Street, Suite 900, Dallas, TX 75201-3136.
                                               II.    *
                                         DISCOVERY

       3.      This case is intended to be governed by Discovery Level 2.

                                               III.
                                    C L A I M FOR RELIEF


       4.      The damages sought are within the jurisdictional limits o f this court. Plaintiff

currently seeks monetary relief over $100,000 but not more than $200,000, including damages of
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any kind, penalties, costs, expenses, pre-judgment interest, and attorney's fees. However, to the

extent that Defendant refuses to cooperate in discovery, makes frivolous and unwarranted

objections, files needless motions, quashes depositions and discovery requests without a

reasonable basis, asserts unjustified or false affirmative defenses, makes unwarranted special

exceptions, hires individuals they claim to be "experts" who give false opinions or testimony,

produces witnesses who commit perjury, conducts excessive discovery, or otherwise needlessly

delays litigation, the costs, expenses, interest, and attorney's fees will likely be over $200,000

but not more than $1,000,000.

                                                  IV.


                                  JURISDICTION             AND VENUE

        5.      This court has subject matter jurisdiction of this cause of action because it

involves an amount in controversy in excess of the minimum jurisdictional limits of this Court.

No diversity o f citizenship exists in this matter.

        6.      Venue is proper in Montgomery County under Tex. Civ. Prac. & Rem. Code

§ 15.002(a)(1) because all or a substantial part of the events or omissions giving rise to the claim

occurred in Montgomery County. In particular, the loss at issue occurred in Montgomery

County.

                                                      V.


                                    FACTUALBACKGROUND


        7.      Mr. Pyle is a named insured under a property insurance policy issued by

Metropolitan.

        8.      On or about June 12, 2014 a storm hit the Conroe, Texas area, damaging Mr.

Pyle's house and other property. Mr. Pyle subsequently filed a claim on his insurance policy.

        9.      Defendant improperly denied and/or underpaid the claim.

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        10.    The adjuster assigned to the claim conducted a substandard investigation and

inspection of the property, prepared a report that failed to include all o f the damages that were

observed during the inspection, and undervalued the damages observed during the inspection.

        11.    This unreasonable investigation led to the underpayment of Plaintiffs claim.

        12.    Moreover, Metropolitan performed an outcome-oriented investigation of Plaintiff s

claim, which resulted in a biased, unfair and inequitable evaluation of Plaintiffs losses on the

property.

                                                VI.

                                     CAUSES O F ACTION

        13.    Each of the foregoing paragraphs is incorporated by reference in the following:

A.     Breach of Contract

        14.    Metropolitan had a contract of insurance with Plaintiff. Metropolitan breached

the terms of that contract by wrongfully denying and/or underpaying the claim and Plaintiff was

damaged thereby.

B.     Prompt Payment of Claims Statute

       15.     The failure o f Metropolitan to pay for the losses and/or to follow the statutory

time guidelines for accepting or denying coverage constitutes a violation of Article 542.051 et

seq. of the Texas Insurance Code.

       16.     Plaintiff, therefore, in addition to Plaintiffs claim for damages, is entitled to 18%

interest and attorneys' fees as set forth in Article 542.060 of the Texas Insurance Code.

C.     Bad Faith/DTPA

       17.     Defendant is required to comply with Chapter 541 of the Texas Insurance Code.

       18.     Defendant violated § 541.051 of the Texas Insurance Code by:

               (1)    making statements misrepresenting the terms and/or benefits of the policy.

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        19.     Defendant violated § 541.060 by:

                (1)     misrepresenting to Plaintiff a material fact or policy provision relating to

coverage at issue;

                (2)     failing to attempt in good faith to effectuate a prompt, fair, and equitable

settlement o f a claim with respect to which the insurer's liability had become reasonably clear;

                (3)     failing to promptly provide to Plaintiff a reasonable explanation of the

basis in the policy, in relation to the facts or applicable law, for the insurer's denial of a claim or

offer of a compromise settlement of a claim;

                (4)     failing within a reasonable time to affirm or deny coverage of a claim to

Plaintiff or submit a reservation o f rights to Plaintiff; and

                (5)     refusing to pay the claim without conducting a reasonable investigation

with respect to the claim;

        20.     Defendant violated § 541.061 by:

                (1)     making an untrue statement of material fact;

                (2)     failing to state a material fact necessary to make other statements made not

misleading considering the circumstances under which the statements were made;

                (3)     making a statement in a manner that would mislead a reasonably prudent

person to a false conclusion of a material fact;

                (4)     making a material misstatement o f law; and

                (5)     failing to disclose a matter required by law to be disclosed.

        21.     At all material times hereto, Plaintiff was a consumer who purchased insurance

products and services from Defendant.




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          22.   Defendant has violated the Texas Deceptive Trade Practices Act in the following

respects:

                (1)    Defendant represented that the agreement confers or involves rights,

remedies, or obligations which it does not have, or involve, or which are prohibited by law;

                (2)    Metropolitan failed to disclose information concerning goods or services

which was known at the time of the transaction when such failure to disclose such information

was intended to induce the consumer into a transaction that the consumer would not have entered

into had the information been disclosed;

                (3)    Metropolitan, by accepting insurance premiums but refusing without a

reasonable basis to pay benefits due and owing, engaged in an unconscionable action or course

of action as prohibited by the DTPA § 17.50(a)(l)(3) in that Metropolitan took advantage of

Plaintiffs lack of knowledge, ability, experience, and capacity to a grossly unfair degree, that

also resulted in a gross disparity between the consideration paid in the transaction and the value

received, in violation of Chapter 541 of the Insurance Code.

          23.   Defendant knowingly committed the acts complained of. As such, Plaintiff is

entitled to exemplary and/or treble damages pursuant to the DTPA and Texas Insurance Code §

541.152(a)-(b).

D.        Attorneys' Fees

          24.   Plaintiff engaged the undersigned attorney to prosecute this lawsuit against

Defendant and agreed to pay reasonable attorneys' fees and expenses through trial and any

appeal.

          25.   Plaintiff is entitled to reasonable and necessary attorney's fees pursuant to TEX.

CIV. PRAC. & REM. CODE §§ 38.001-38.003 because he is represented by an attorney,



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presented the claim to Defendant, and Defendant did not tender the just amount owed before the

                     th
expiration of the 30 day after the claim was presented.

        26.     Plaintiff further prays that he be awarded all reasonable attorneys' fees incurred in

prosecuting his causes o f action through trial and any appeal pursuant to Sections 541.152

542.060 of the Texas Insurance Code.

                                                vn.

                                  CONDITIONS P R E C E D E N T

        27.     A l l conditions precedent to Plaintiffs right to recover have been fully performed,

or have been waived by Defendant.
                                          VIII.
                                   DISCOVERY REQUESTS

        28.     Pursuant to Rule 194, you are requested to disclose, within fifty (50) days after

service of this request, the information or material described in Rule 194.2(a)-(l).

        29.     You are also requested to respond to the attached interrogatories, requests for

production, and requests for admissions within fifty (50) days, in accordance with the

instructions stated therein.

                                               IX.
                                             PRAYER

        WHEREFORE, PREMISES CONSIDERED, Clarence W. Pyle prays that, upon final

hearing of the case, he recover all damages from and against Defendant that may reasonably be

established by a preponderance of the evidence, and that Mr. Pyle be awarded attorneys' fees

through trial and appeal, costs of court, pre-judgment interest, post-judgment interest, and such

other and further relief, general or special, at law or in equity, to which Mr. Pyle may show

himself to be justly entitled.




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                               Respectfully submitted,

                               DALY & BLACK, P.C.

                               By:    /s/ Richard D. Daly
                                     Richard D. Daly
                                     TBA No. 00796429
                                     rdalv@dalvblack.com
                                     John Scott Black
                                     TBA No. 24012292
                                     iblack@dalvblack.com
                                     A n a M . Ene
                                     TBA No. 24076368
                                     aene@dalvblack.com
                                     William X. King
                                     TBA No. 24072496
                                     wking@dalvblack.com
                                     2211 Norfolk St., Suite 800
                                     Houston, Texas 77098
                                     713.655.1405—Telephone
                                     713.655.1587—Fax

                               ATTORNEYS FOR PLAINTIFF
                               CLARENCE WAYNE PYLE




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                   PLAINTIFF'S FIRST SET OF INTERROGATORIES,
             REQUESTS F O R PRODUCTION AND REQUESTS F O R ADMISSIONS

        COMES NOW Plaintiff in the above-styled and numbered cause, and requests that

Defendant(s) (1) answer the following Interrogatories separately and fully in writing under oath

within 50 days of service; (2) answer the Requests for Production separately and fully in writing

within 50 days of service; (3) answer the Requests for Admissions separately and fully in writing

within 50 days of service; (4) serve your answers to these Interrogatories, Requests for

Production, and Requests for Admissions on Plaintiff by and through his/her attorneys of record,

Richard D. Daly, Daly & Black, P.C., 2211 Norfolk St, Suite 800, Houston, Texas 77098; and

(5) produce all documents responsive to the Requests for Production as they are kept in the usual

course of business or organized and labeled to correspond to the categories in the requests within

50 days of service at the Daly & Black, P.C. You are also advised that you are under a duty to

seasonably amend your responses i f you obtain information on the basis of which:

        a.        You know the response made was incorrect or incomplete when made; or

        b.        You know the response, though correct and complete when made, is no longer

                  true and complete, and the circumstances are such that a failure to amend the

                  answer in substance is misleading.

                               DEFINITIONS AND INSTRUCTIONS

   A.         These Responses call for your personal and present knowledge, as well as the present
              knowledge of your attorneys, investigators and other agents, and for information
              available to you and to them.

   B.         I f you cannot answer a particular Interrogatory in full after exercising due diligence to
              secure the information to do so, please state so and answer to the extent possible,
              specifying and explaining your inability to answer the remainder and stating whatever
              information or knowledge you have concerning the unanswered portion.

   C.         I f you claim that any document which is required to be identified or produced by you
              in any response is privileged:


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                 1.   Identify the document's title and general subject matter;
                 2.   State its date;
                 3.   Identify all persons who participated in its preparation;
                 4.   Identify the persons for whom it was prepared or to whom it was sent;
                 5.   State the nature of the privilege claimed; and
                 6.   State in detail each and every fact upon which you base your claim for
                      privilege.

  D.   "Documents," includes any written, recorded or graphic matter, however produced or
       reproduced, of every kind regardless of where located including, but not limited to,
       medical records, tax returns, earnings statements, any summary, schedule,
       memorandum, note, statement, letter, telegraph, interoffice communication, report,
       diary, ledger, journal, log, desk or pocket calendar or notebook, day book,
       appointment book, pamphlet, periodical, worksheet, cost sheet, list, graph, chart,
       telephone or oral conversation, study, analysis, transcript, minutes, accounting
       records, data sheet, tally or similar freight documents, computer printout, electronic
       mail, computer disk, and all other memorials of any conversations, meetings and
       conferences, by telephone or otherwise, and any other writing or recording which is
       in your possession, custody or control or in the possession, custody or control of any
       director, officer, employee, servant or agent of yours or your attorneys. The term
       "documents" shall also include the files in which said documents are maintained.
       Electronically stored information should be produced in PDF format.

  E.   "You," "Your," "Yours", "Defendants" and "Defendant" means all Defendants in this
       case.

  F.   In each instance where you are asked to identify or to state the identity o f a person, or
       where the answer to an Interrogatory refers to a person, state with respect to each
       such person:
                 1. His or her name;
                 2. His or her last known business and residence address and telephone
                     number; and
                 3. His or her business affiliation or employment at the date of the
                    transaction, event or matter referred to.

  G.   I f you decide that one question is not simply one question and plan to object based
       upon more than 25 interrogatories, you are instructed to skip that question and
       continue to answer what you consider to be only one question, by answering only the
       first 25 alleged single questions. By answering any one numbered question, you are
       hereby admitting that one number question is in fact one question and waive any
       objection based upon a limit of interrogatories.

  H.   "Plaintiffs" and "Plaintiff" includes all Plaintiffs, and refers to a single Plaintiff or
       multiple Plaintiffs, i f applicable.




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                                             Respectfully submitted,

                                             DALY & BLACK, P.C.


                                             By:    Isl Richard D. Daly
                                                    Richard D. Daly
                                                    TBA No. 00796429
                                                    rdaly@dalybiack.com
                                                    John Scott Black
                                                    TBA No. 24012292
                                                    iblack@dalvblack.com
                                                    Ana Ene
                                                    TBA No. 24076368
                                                    aene@dalyblack.com
                                                    William X. King
                                                    TBA No. 24072496
                                                    wking@dalyblack.com
                                                    2211 Norfolk St, Suite 800
                                                    Houston, Texas 77098
                                                    713.655.1405—Telephone
                                                    713.655.1587—Fax

                                            ATTORNEYS FOR PLAINTIFF
                                            CLARENCE WAYNE PYLE




                                CERTIFICATE OF SERVICE

       I hereby certify that I sent a true and correct copy of the attached discovery requests to
Defendant(s) as an attachment to the petition. Therefore, Defendant would have received it
when it was served with the citation.

                                                    /s/ Richard D. Daly
                                                    Richard D. Daly




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             INTERROGATORIES TO DEFENDANT METROPOLITAN

1.   Identify the name, address, and role in the claim made the basis of this Lawsuit, i f any,
     for all persons providing information for the answers these interrogatories.

     ANSWER:

2.   Identify all persons and/or entities who handled the claim made the basis o f the Lawsuit
     on behalf of Defendant.

     ANSWER:

3.   Does Defendant contend that Plaintiffs) failed to provide proper notice of the claim
     made the basis o f this Lawsuit under either the policy or the Texas Insurance Code, and,
     i f so, describe how the notice was deficient, and identify any resulting prejudice caused to
     Defendant.

     ANSWER:

4.   Does Defendant claim that Plaintiffs) failed to mitigate his or her damages? I f so,
     describe how Plaintiff failed to do so, identifying any resulting prejudice caused to
     Defendant.

     ANSWER:

5.   Does Defendant contend that Plaintiffs) failed to provide Defendant with requested
     documents and/or information? I f so, identify all requests to which Plaintiffs) did not
     respond and state whether you denied any portion of the claim based on Plaintiff s(s')
     failure to respond.

     ANSWER:

6.   At the time the claim made the basis of this Lawsuit was investigated and the Property
     inspected (and prior to anticipation of litigation), describe all damage attributable to the
     storm observed at the Property by Defendant or any persons or entities on behalf of
     Defendant.

     ANSWER:


7.   Identify all exclusions under the Policy applied to the claim made the basis of this
     Lawsuit, and for each exclusion identified, state the reason(s) that Defendant relied upon
     to apply that exclusion.

     ANSWER:



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8.    Describe how Defendant determined whether overhead and profit ("O&P") should be
      applied to the claim made the basis of this Lawsuit, identifying the criteria for that
      determination.

      ANSWER:

9.    Identify all items on the claim made the basis of this Lawsuit to which Defendant applied
      depreciation, stating for each item the criteria used and the age of the item.

      ANSWER:

10.   To the extent Defendant utilized an estimating software program and modified the
      manufacturer's settings with respect to Plaintiffs' claim, identify those modifications.

      ANSWER:

11.   State whether Defendant applied depreciation to the tear off o f the damaged roof and/or
      other debris removal in the claim made the basis of this Lawsuit, identifying the basis for
      that depreciation and the applicable policy section under which the tear o f f was paid
      under.

      ANSWER:

12.   Identify all price lists used to prepare all estimates on the claim made the basis o f this
      Lawsuit, stating the manufacturer, version, date and geographical area.

      ANSWER:

13.   To extent Defendant is aware, state whether the estimate(s) prepared for the claim made
      the basis of lawsuit wrongly included or excluded any item or payment. I f so, identify
      each item or payment and state whether it should have been included or excluded from
      the estimates prepared on the claim made the basis this Lawsuit.

      ANSWER:

14.   To the extent Defendant is aware, state any violations of Texas Insurance Code Section
      541 that were discovered on this claim during the claims handling process.

      ANSWER:

15.   To the extent Defendant is aware, state any violations of Texas Insurance Code Section
      542 that were discovered on this claim during the claims handling process.

      ANSWER:



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16.   To the extent Defendant is aware, state any violations of the requirements or obligations
      owed to Plaintiffs) under the Policy relating the claim made the basis of this Lawsuit that
      were discovered during the claims handling process.

      ANSWER:

17.   State the date Defendant first anticipated litigation.

      ANSWER:

18.   State every basis, in fact and in the terms of Plaintiff s policy, for Defendant's^') denial
      or partial denial and/or recommendation of denial or partial denial of Plaintiff s claim(s).

      ANSWER:

19.   Identify every other insurance claim (by name, address and telephone no. o f the insured)
      made for property damage in the same city/town as the house at issue in this case, and
      stemming from the same storm, which claim was paid in part or whole. This is limited to
      within 5 miles of Plaintiff s(s') insured property.

      ANSWER:

20.   Identify anyone who recommended payment on Plaintiffs claim(s), and i f so, state what
      amount(s).

      ANSWER:

21.   Give the name, address and telephone number of all persons making a claim with you for
      property damage for the same date of loss as Plaintiffs claim. This request is limited to
      persons who live within a 5 mile radius of Plaintiff s insured residence.

      ANSWER:

22.   List all of your approved or preferred engineers, third party adjusters/adjusting
      companies, roofers and contractors, for windstorm claims in Texas from one year prior to
      the date of loss at issue to date.

      ANSWER:




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       REQUESTS FOR PRODUCTION T O DEFENDANT METROPOLITAN

1.   The following insurance documents issued for the Property as identified in the Petition:
        a. the policy at issue for the date of loss as identified in the Petition; and
        b. the policy declarations page for the 3 years preceding the storm.

     RESPONSE:

2.   Produce underwriting files and documents relating to the underwriting for all insurance
     policies for the Property at issue. This request is limited to the past 5 years. To the extent
     Defendant contends that the underwriting file or documents older than 5 years impact the
     damages or coverage, produce that underwriting file or document.

     RESPONSE:

3.   All documents relating to the condition or damages of the Property or any insurance
     claim on the Property.

     RESPONSE:

4.   A l l documents relating to any real property insurance claims made by the Plaintiffs).
     This request is limited to the past 5 years. To the extent Defendant contends that
     documents older than 5 years impact the damages or coverage, produce that document.

     RESPONSE:

5.   A l l requests for information to any third party about the Property, the Plaintiffs), or the
     claims made the basis of this Lawsuit.

     RESPONSE:

6.   A l l documents used to instruct, advise, guide, inform, educate, or assist provided to any
     person handling the claim made the basis of this Lawsuit that related to the adjustment of
     this type of claim, i.e., hail property damage.

     RESPONSE:

7.   A l l documents obtained from any person(s) or entity(ies) and governmental agencies on
     behalf of Defendant or by Defendant relating to the Plaintiffs), the Property, the Policy,
     or the claims made the basis of this Lawsuit. This request includes all documents
     obtained by way of deposition on written questions.

     RESPONSE:




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8.    A l l documents received (prior to litigation) directly or indirectly from Plaintiffs) or
      created by Plaintiffs) related to the Property made the basis of this lawsuit. This request
      is limited to the past 5 years. To the extent Defendant contends that any document older
      than 5 years impact the damages or coverage, produce that document.

      RESPONSE:

9.    Produce a copy of all price lists used to prepare any estimates for the claim made the
      basis of this Lawsuit. To the extent the pricelist is an unmodified pricelist from a third
      party, you can reference the vendor and version of the pricelist with a stipulation that it is
      unmodified.

      RESPONSE:

10.   To the extent Defendant created or altered any prices used in the preparation of an
      estimate in the claim made the basis of this Lawsuit, produce all documents related to the
      creation or alteration of the price, including the original price for that item and the factual
      bases for the creation or alteration.

      RESPONSE:

11.   A complete copy the personnel file related to performance (excluding medical and
      retirement information) for all people and their managers and/or supervisors who directly
      handled the claim made the basis o f this Lawsuit, including all documents relating to
      applications for employment, former and current resumes, last known address, job title,
      job descriptions, reviews, evaluations, and all drafts or versions o f requested documents.
      This request is limited to the past 5 years.

      RESPONSE:

12.   A l l organizational charts, diagrams, lists, an/or documents reflecting each department,
      division or section o f Defendant's company to which the claim made the basis o f this
      Lawsuit was assigned.

      RESPONSE:

13.   A l l Texas insurance licenses and/or certifications in effect at the time of the claims
      arising out of the storms at issue for all persons who worked on the claim made the basis
      o f this Lawsuit, including any document relating to the application, issuance or review of
      those licenses and/or certifications. This request excludes those who performed merely
      ministerial acts, i.e. people who answer phones, file clerks whose only job duty is to
      stamp "received," etc.

      RESPONSE:




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14.   I f an engineer and/or engineering firm evaluated the Property, produce all reports written
      at the request of Defendant by that engineer or engineering firm within the last 5 years.
      This request is limited to the extent that the engineer and/or engineering firm was used
      during claims handling.

      RESPONSE:

15.   Produce all documents showing amounts billed and paid to any engineer and/or
      engineering firm identified in response to Request for Production above within the last
      three years. A summary is acceptable in lieu of actual invoices or payments.

      RESPONSE:

16.   All documents reflecting the pre-anticipation o f litigation reserve(s) set on the claim
      made the basis of this Lawsuit, including any changes to the reserve(s) along with any
      supporting documentation.

      RESPONSE:

17.   A l l documents relating to issues of honesty, criminal actions, past criminal record,
      criminal conduct, fraud investigation and/or inappropriate behavior which resulted in
      disciplinary action by Defendant of any person(s) or entity(ies) who handled the claim
      made the basis of this Lawsuit, the Plaintiffs) or any person assisting on the claim made
      the basis o f this Lawsuit.

      RESPONSE:

18.   A l l documents relating to work performance, claims patterns, claims problems,
      commendations, claims trends, claims recognitions, and/or concerns for any person who
      handled the claim made the basis of this Lawsuit.

      RESPONSE:

19.   All XactAnalysis reports that include this claim in any way, this Policy, the amount paid
      on this Policy and/or referencing any person who handled the claim made the basis of this
      Lawsuit relating to claims arising out of the storm(s) occurring on the date(s) of loss
      claimed by Plaintiffs).

      EE-SPONSE:

20.   Any email or document that transmits, discusses, or analyzes any report produced in
      response to the Request for Production immediately above.

      RESPONSE:




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21.   A l l Simsol Management reports that include this claim in any way, this Policy, the
      amount paid on this Policy and/or referencing any person who handled the claim made
      the basis of this Lawsuit relating to claims arising out of the hail storms occurring in the
      county of suit on or about the date of loss claimed by Plaintiffs).

      RESPONSE:

22.   Any email or document that transmits, discusses, or analyzes any report produced in
      response to the Request for Production immediately above.

      RESPONSE:

23.   For any consulting expert whose mental impressions or opinions have been reviewed by a
      testifying expert: all documents or tangible things that have been provided to, reviewed
      by, or prepared for the testifying expert.

      RESPONSE:

24.   Pursuant to Texas Rule of Evidence 609(f), provide all documents evidencing conviction
      of a crime which you intend to use as evidence to impeach any party or witness.

      RESPONSE:

25.   All indemnity agreements in effect at the time of Plaintiffs' claim between Defendant and
      any person(s) and/or entity(ies) who handled the claim made the basis of the Lawsuit.

      RESPONSE:

26.   A l l contracts in effect at the time of Plaintiffs' claim between Defendant and any
      person(s) and/or entity(ies) who handled the claim made the basis of the Lawsuit.

      RESPONSE:

27.   A l l confidentiality agreements and/or instructions regarding confidentiality in effect at
      the time of Plaintiffs' claim between Defendant and any person(s) and/or entity(ies) who
      the claim made the basis of the Lawsuit.

      RESPONSE:

28.   All documents between Defendant and any person(s) and/or entity(ies) who handled the
      claim made the basis of the Lawsuit regarding document retention policy in effect at the
      time of Plaintiffs' claim.

      RESPONSE:




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29.   To the extent the claim involves rescinding of the policy, all documents regarding
      Defendant's standards for investigating and rescinding and/or voiding a policy.

      RESPONSE:

30.   A List of all of your approved or preferred engineers, third party adjusters/adjusting
      companies, roofers and contractors, for windstorm claims in Texas from one year prior to
      the date of loss at issue to date.

      RESPONSE:




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        FIRST S E T O F REQUESTS F O R ADMISSIONS T O M E T R O P O L I T A N


REQUEST F O R ADMISSION NO. 1. Admit you committed statutory bad faith in adjusting
Plaintiffs claim.

RESPONSE:

REQUEST F O R ADMISSION NO. 2. Admit you committed common law bad faith in
adjusting Plaintiffs claim.

RESPONSE:

R E Q U E S T F O R ADMISSION NO. 3. Admit you breached the insurance agreement by failing
to pay the full amount owed there under.

RESPONSE:

REQUEST F O R ADMISSION NO. 4. Admit you breached the insurance agreement by failing
to pay the full amount owed there under on a timely basis.

RESPONSE:

REQUEST F O R ADMISSION NO. 5. Admit you breached the Texas Prompt Payment Act by
failing to pay the full amount owed under the policy in a timely fashion.

RESPONSE:




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Montgomery County - 284th Judicial DistricLCourt                                                                                                          Received a n d E-Filed for Record
                                                               C I V I L C A S E INFORMATION SHEET                                                        2/25/2015 7:09:58 PM
                                                                                                                                                          Barbara Gladden Adamick
           C A U S E N U M B E R (FOR CLERK USE ONLY):     15-02-01909                                         C O U R T (FOR CLERK USE ONLY): District f f e r k

                                                                                                                                                                  0       1   6       C   o   U   n   t   y       T   e   x   a   s
              STYLED     C L A R E N C E W A Y N E P Y L E V S . M E T R O P O L I T A N L L O Y D S I N S U R A N C E C O M P A N Y OF T E ^ f                       "           ^                           -
                                  (e.g., John Smith v. AH American Insurance Co; InreMary Ann Jones; In the Matter of the Estate of George Jackson)
 A civil case information sheet must be completed and submitted when an original petition or application is filed to initiate a new civil, family law, probate, or mental
 health case or when a post-judgment petition for modification or motion for enforcement is filed in a family law case. The information should be the best available at
 the time of filing.

1. Contact information for person completing case information sheet:                  Names of parlies in case;                                     JPersbn or entity completing sheet is:
                                                                                                                                                  {^Attorney for Plaintiff/Petitioner
Name:                                      Email:                                     Plain tiffTs)/Petitioner(s):                                OPro Se PlaintifT/Petitioner
 RlChard D. Daly-                          rdaly@dalyblack.com                                                                                    • T i t l e IV-D Agency
                                                                                      CLARENCE W A Y N E PYLE                                     •Other:

Address:                                   Telephone:
2211 Norfolk St. Ste 800                                                                                                                          Additional Parties in Child Support Case:
                                            713.655.1405
                                                                                      Defendant(s)/Respondent(s):                                 Custodial Parent:
City/State/Zip:                            Fax:
                                                                                      METROPOLITAN                    LLOYDS
 Houston, TX 77098                          713.655.1587                                                                                          Non-Custodial Parent:
                                                                                      INSURANCE COMPANY
Signature:                                 State Bar No:
                                                                                      OF TEXAS
 fsJ Richard D. Daly                                                                                                                              Presumed Father:
                                            00796429
                                                                                     [ Attach additional page as necessary to list all parties!

2. Indicate case type, or identify the most important issue in the case (select only 1):
                                                  Civil                                                                                               Family     Law
                                                                                                                                                                  Post-judgment Actions
           Contract'                      Injury Or Damage                     . Real Property                           •Marriage Relationship                      (don-Title IV-D)
Debt/Contract                        QAssault/Battery                       •Eminent Domain/                             •Annulment                             •Enforcement
  SjConsumer/DTPA                    •Construction                            Condemnation                               •Declare Marriage Void                 •Modification—Custody
  •Debt/Contract                     •Defamation                            •Partition                                   Divorce                                •Modification—Other
  •Fraud/Misrepresentation           Malpractice                            •Quiet Title                                    • W i t h Children                          Title IV-D
  •Other Debt/Contract:                •Accounting                          •Trespass to Try Title                          • N o Children                     •Enforcement/Modification
                                       •Legal                               •Other Property:                                                                   •Paternity
Foreclosure                            •Medical                                                                                                                •Reciprocals (UIFSA)
   • H o m e Equity—Expedited          •Other Professional                                                                                                     •Support Order
   •Other Foreclosure                     Liability:
•Franchise                                                                      Related to Criminal
•insurance                           •Motor Vehicle Accident                            Matters                             Other Family Law                     Parent-Child Relationship
•Landlord/Tenant                     •Premises                              •Expunction                                  [-Enforce Foreign                     •Adoption/Adoption with
•Non-Competition                     Product Liability                      •Judgment Nisi                                  Judgment                              Termination
•Partnership                           •Asbestos/Silica                     •Non-Disclosure                              •Habeas Corpus                        • C h i l d Protection
•Other Contract:                       •Other Product Liability             • Seizure/Forfeiture                         •Name Change                          • C h i l d Support
                                          List Product:                     • W r i t of Habeas Corpus-                  •Protective Order                     •Custody or Visitation
                                                                               Pre-indictment                            •Removal of Disabilities              •Gestational Parenting
                                     •Other Injury or Damage:               •Other                                          of Minority                        •Grandparent Access
                                                                                                                         •Other:                               •Parentage/Paternity
                                                                                                                                                               •Termination of Parental
           Employment                                             Other Civil                                                                                      Rights
                                                                                                                                                               •Other Parent-Child:
•Discrimination                       •Administrative Appeal                •Lawyer Discipline
•Retaliation                          •Antitrust/Unfair                     •Peipetuate Testimony
•Termination                             Competition                        •Securi lies/Stock
•Workers' Compensation                • C o d e Violations                  •Tortious Interference
•Other Employment:                    •Foreign Judgment                     •Other
                                      •intellectual Property


               Tax                                                                            Probate & Mental  Health
 • T a x Appraisal                    Probate/Wills/Intestate Administration                            •Guardianship—Adult
 • T a x Delinquency                    •Dependent Administration                                       •Guardianship—Minor
 •Other Tax                             •independent Administration                                     •Mental Health
                                        •Other Estate Proceedings                                       •Other:

Syndicate procedure or remedy, if applicable (mai selectmote titan 1)\
 •Appeal from Municipal or Justice Court               •Declaratory Judgment                                                         •Prejudgment Remedy
 •Arbitration-related                                  •Garnishment                                                                  •Protective Order
 •Attachment                                           •interpleader                                                                 •Receiver
 • B i l l of Review                                   •License                                                                      •Sequestration
 •Certiorari                                           •Mandamus                                                                     •Temporary Restraining Order/Injunction
 • C l a s s Action                                    •Post-judgment                                                                •Turnover
4. Indicate damages sought (So not select if it Is a family law case):
 • L e s s than $100,000, including damages of any kind, penalties, costs, expenses, pre-judgment interest, and attorney fees
 • L e s s than $100,000 and non-monetary relief
 gOver $100,000 but not more than $200,000
 • O v e r $200,000 but not more than $1,000,000
 • O v e r $1,000,000

                                                                                                                                                                                                      Rev 2/13
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                                                                                                                     Received and E-Filed for Record
                                                                                                                     2/25/2015 7:09:58 PM
                                                                                                                     Barbara Gladden Adamick
                                                                                                                     District Clerk
                                                                                                                     Montgomery County, T e x a s
                                           CIVIL PROCESS REQUEST FORM

                           F a r Each Party Served You Must Furnish f l ) Copy of the Pleading

Cause No. 15-02-01909                                                                Cou   /yiontgomery County - 284th Judicial District C
CLARENCE W A Y N E P Y L E VS. M E T R O P O L I T A N L L O Y D S I N S U R A N C E C O M P A N Y O F T E X A S
Service to be issued as follows:
1. Name:         Metropolitan Lloyds Insurance Company of Texas
   Agent:         C T Corporation System
   Address:        1999 Bryan Street, Suite 900

                                                                                    T X
    City:              Dallas                                           State:                     Zip:    7520i-3i36~


Instrument to be served:


Service by:          Personal Citation                          Restrict Del.                             Non-Resident_
                     Certified Mail X                           Publication                               Posting
                     Other:


    Name:
    Agent:
    Address:
    City:                            .                                              State:                   Zip:_

Instrument to be served:



Service by:          Personal Citation                         Restrict Del.                              Non-Resident_
                     Certified Mail                            Publication                                Posting
                     Other:


Attorney or Party requesting issuance of service:
Name:           R i c h a r d D. D a l y , R i c h a r d D a l y Law F i r m
Address:         2211 N o r f o l k S t r e e t , S u i t e 800, Houston, T e x a s 77098
Telephone No: (713) 655-1405                                       Bar No: 00796429



Service to be returned by Mail or Pickup (circle one)                           ** C E R T I F I E D MAIL***
Contact the following for pickup:
Civil Process Server:
Telephone No:
Attorney:                                                                           Telephone No:_

                                              Barbara Gladden Adamick, District Clerk
                                                           P.O. Box 2985
                                                        Conroe, T X 77305
                                                          (936) 539-7855

                                                              Revised 9/18/12
       Case 4:15-cv-00930 Document 1-2 Filed in TXSD on 04/09/15 Page 23 of 25
Print Your Documents                                                                       Page 1 of 1




  Mor.tgom.ry County D i « Clerk                            USPS C E R T I F I E D MAIL™
  E Sotinot
 301 N Mum


 Conras           TX     77301




                                                        9214 8901 4633 9311 1342 99




                    METROPOLITAN L L O Y D S INSURANCE
                    COMPANY OF TEXAS
                    R / A C T CORPORATION S Y S T E M
                     1999 B R Y A N S T R E E T S T E 900


                    DALLAS              TX    75201-3136




http://pitneybowes/sendsuite%201ive/projects/image.aspx?pd=l                               2/27/2015
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                                                                                               Received and E-Filed for Record
                                                                                               4/3/2015 5:58:33 PM
                                                                                               Barbara Gladden Adamick
                                                                                               District Clerk
                                                                                               Montgomery County, T e x a s


                                             NO. 15-02-01909

C L A R E N C E WAYNE P Y L E ,                       §        IN T H E D I S T R I C T C O U R T
                                                      §
            Plaintiff,                                §
                                                      §
v.                                                    §        M O N T G O M E R Y COUNTY, T E X A S
                                                      §
METROPOLITAN LLOYDS                                   §
INSURANCE COMPANY O F T E X A S ,                     §
                                                      §        284TH J U D I C I A L D I S T R I C T
            Defendant.                                §


                               DEFENDANT'S O R I G I N A L ANSWER

TO THE HONORABLE JUDGE OF SAID COURT:

            Defendant Metropolitan Lloyds Insurance Company of Texas files this its Original

Answer and respectfully shows the Court the following:

                                                          I.

                                         ORIGINAL ANSWER

            1.1    Pursuant to Rule 92 of the Texas Rules of Civil Procedure, Defendant generally

denies each and every allegation contained within the Plaintiffs Original Petition, and since they

are allegations of fact, Plaintiff should be required to prove them by a preponderance o f the

evidence in accordance with the laws of the state ofTexas.

                                                      II.

                                    CONCLUSION AND P R A Y E R

            2.1    Wherefore, premises considered, Defendant prays that Plaintiff take nothing by

his suit, and for such other further relief to which Defendant may show itselfjustly entitled.




DEFENDANT'S O R I G I N A L A N S W E R - P A G E 1

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                                            Respectfully Submitted,


                                            s/Daniel P. Buechler
                                            Daniel P. Buechler
                                            State Bar No. 24047756
                                            dbuechler@thompsoncoe.com
                                            Molly E. Raynor
                                            State Bar No. 24068609
                                            mravnor@thompsoncoe.com

                                            THOMPSON, COE, COUSINS & IRONS, L.L.P.
                                            700 N . Pearl Street, 25th Floor
                                            Dallas, Texas 75201
                                            (214) 871-8200
                                            (214) 871-8209 - F A X

                                            COUNSEL FOR DEFENDANT
                                            M E T R O P O L I T A N LLOYDS INSURANCE
                                            COMPANY OF TEXAS




                                    CERTIFICATE OF SERVICE

       I hereby certify that on April 3, 2015, I served the following document on counsel via
email and/or certified mail, return receipt requested and/or facsimile:

            Richard D. Daly
            John Scott Black
            Ana M . Ene
            William X . King
            D A L Y & BLACK, P.C.
            2211 Norfolk St, Suite 800
            Houston, Texas 77098
            COUNSEL FOR PLAINTIFF




                                            s/Daniel P. Buechler
                                            Daniel P. Buechler




DEFENDANT'S ORIGINAL ANSWER - P A C E 2
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